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The Law
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                                               REQUEST GRANTED.
June 9, 2024
                                               The Court approves the modification to Mr. Shvartsman's
                                               bail conditions to allow him to travel as proposed.
VIA ECF
                                                  6/10/2024
Honorable Lewis J. Liman
United States District Judge
Southern District of New York
500 Pearl Street, Room 701
New York, New York 10007

        Re:       United States v. Michael Shvartsman, et. al., No. 23 Cr. 307_(LJL)

Dear Judge Liman:

        On behalf of Michael Shvartsman, defendant in the above-referenced case, I write to
request that the Court modify the travel restrictions imposed on the defendant as a condition
of his bail, as indicated below. I have communicated in writing with Assistant United States
Attorney Elizabeth Hanft, and Ms. Hanft advised that the Government does not have an
objection to this application.

        My client requests to travel to BuXalo, NY to attend to business interests he has in
that city as well as consult with counsel located there on June10, 2024, through June 12,
2024. We have committed to provide the U.S. Attorney’s oXice and pretrial services detailed
travel plans.

       As I have noted above, AUSA Hanft has no objection to this application, and if the
Court is inclined to grant it, we request it do so by endorsing this letter with an endorsement
above.

Very truly yours,



Grant J. Smith
Counsel to Michael Shvartsman

cc: All counsel of record via ECF




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